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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

FlavaWorks Entertainment, Inc.,              )
Blatino Media, Inc.,                         )
                     Plaintiff,              )      Case No.
                                             )
       v.                                    )
                                             )      JURY TRIAL DEMANDED
Joel Lewitzky,                               )
John Doe 1 (username augire2)                )
John Doe 2 (username batsu454)               )
John Doe 3 (username blackbike20)            )
John Doe 4 (username Cards1uk)               )
John Doe 5 (username Chaman)                 )
John Doe 6 (username Clorino404)             )
John Doe 7 (username Daledale)               )
John Doe 8 (username Daleorama)              )
John Doe 9 (username Dave858)                )
John Doe 10 (username ekospirit)             )
John Doe 11 (username gzh004)                )
John Doe 12 (username Hubrys)                )
John Doe 13 (username Joewija)               )
John Doe 14 (username Lilraverprep)          )
John Doe 15 (username Luvpecs)               )
John Doe 16 (username Nyethi)                )
John Doe 17 (username Paulrc)                )
John Doe 18 (username Slchung)               )
John Doe 19 (username Thomblack)             )
John Doe 20 (username Trashcat)              )
John Doe 21 (username Yatjug)                )
John Doe 22 (username Zanefan)               )
John Doe 23 (username xaoslao)               )
       Defendants.                           )


                                         COMPLAINT


Plaintiffs, FlavaWorks Entertainment, Inc. and Blatino Media Inc (hereinafter “Plaintiffs”), and
for its Complaint against Defendants states as follows:


                                 NATURE OF THE ACTION
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1.     This is an action for copyright infringement pursuant to the Copyright Act, 17 U.S.C. §

101 et seq.; for trademark infringement pursuant to the Lanham Act, 15 U.S.C. § 1051 et seq., as

amended. Plaintiffs bring this action to stop Defendants from infringing, promoting,

encouraging, enabling and facilitating the infringement of Plaintiffs’ copyrights (collectively

“Plaintiffs’ Intellectual Property”) on the Internet.

2.     Plaintiffs bring this action to stop Defendants from continuing to encourage, enable and

contribute to the infringement of Plaintiffs’ copyrights on the Internet. Defendant, Joel Lewitzky

joined or visited FlavaWorks’ paid membership-only websites, agreed to FlavaWorks’ terms and

services, downloaded copyrighted videos owned by FlavaWorks, and copied and distributed the

aforesaid copyrighted videos in violation of the agreed to terms and services.




                                           THE PARTIES

3.     Plaintiff, FlavaWorks Entertainment, Inc is incorporated under the laws of the State of

Illinois with its principal place of business at 2705 West Fulton, Chicago Illinois 60612.

4.     Plaintiff, Blatino Media, Inc., is incorporated under the laws of the State of Illinois with

its principal place of business at 2705 West Fulton, Chicago Illinois 60612.

5.     On information and belief, Defendants, are residents of the United States of America

6.     The legal names of Defendants, John Doe 1-23, legal names are unknown to Plaintiffs

and are only identifiable by their online usernames platforms.

7.     Upon information and belief, all Defendants are members of GayTorrent.Ru.




                                 JURISDICTION AND VENUE
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8.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, § 1338 and §

1367; pursuant to the Copyright Act, 17 U.S.C. § 101 et seq..

9.      This Court has jurisdiction over Defendants, because Defendants consented to personal

jurisdiction when they agreed to FlavaWorks’ Terms and Conditions, section 11, 1.1: “you

hereby consent to the personal jurisdiction and venue of the courts located in Cook County,

Illinois”

10.     This Court has jurisdiction over Defendants, because Defendants are subject to personal

jurisdiction in the State of Illinois under the Illinois Long Arm Statute.

11.     Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to the claim occurred, or a substantial part of property that is the

subject of the action is situated in this district.



                                                 FACTS

                    PLAINTIFF FLAVAWORKS ENTERTAINMENT, INC.

        12.     Plaintiff, FlavaWorks Entertainment, is a corporation that produces adult

entertainment in the form of DVDs, magazines, websites, pictures, streaming video and various

other media.

        13.     Plaintiff distributes its adult entertainment through various distributors and

licensees, as well as through its websites: www.FlavaMen.com, www.CocoDorm.com,

www.CocoStore.com, www.PapiCock.com, www.RawRods.com and www.ThugBoy.com,

among others.

        14.     Plaintiff has applied for and has registered various copyrights for its works.
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       15.      Plaintiff is recognized nationally and internationally as a leader in the field of

production and distribution of adult entertainment due, in large part, to the goodwill and name

recognition associated with its trademarks, as well as the high quality content that is associated

with its copyrighted material.

       16.      At all relevant times, Defendants visited or joined as paid members of

FlavaWorks websites.

       17.      Defendants agreed to the terms and conditions of the site and agreed that

Defendants would not copy and distribute copyrighted videos of FlavaWorks. Copies of

FlavaWorks’ terms and conditions are attached as Group Exhibit “A”.

       18.      Notwithstanding the aforesaid agreements, Defendant Joel Lewitzky

downloaded copyrighted videos of FlavaWorks as part of their paid memberships and, in

violation of the terms and conditions of the paid sites, and posted and distributed the aforesaid

videos on other websites, including websites with peer to peer sharing and peer to peer sharing and

torrents technology Copies of the aforementioned copyrights are attached as Exhibit “B”.

       19.      As a result of Defendants’ conduct, third parties were able to download the

copyrighted videos, without permission of FlavaWorks.



                                              COUNT I

             (Direct Copyright Infringement as to all Defendants – 17 U.S.C. § 501.)

       1-19     Plaintiffs incorporate and re-alleges paragraphs 1-19 of this Complaint as

paragraphs 1-16 of Count I.

       20.      Defendant’s conduct interferes with Plaintiffs’ exclusive right to reproduce,

distribute and display the copyrighted works.
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        21.     Defendant’s conduct constitutes copyright infringement that this Court may

remedy under Sections 106 and 501 of the Copyright Act.

        22.     Defendants’ aforesaid activities constitute infringement of Plaintiffs’

copyrights.

        23.     As a result of the injury suffered by Plaintiffs’ business from Defendants’ actions

of direct copyright infringement, Plaintiffs are entitled to recover actual and/or statutory

damages, which shall be determined at trial, and costs of this action, including reasonable

attorney’s fees, as well as injunctive relief to prevent future infringement.



                                              COUNT II

                             (Contributory Copyright Infringement.)

        1-19    Plaintiffs incorporate and re-alleges paragraphs 1-16 of this Complaint as

paragraphs 1-19 of Count II.

        24.     On information and belief, Defendants aided, abetted, allowed, encouraged and

otherwise materially contributed to the infringement of FlavaWorks’ Intellectual Property by

copying, posting, and/or distributing FlavaWorks’ copyrighted videos without permission.

        25.     On information and belief, Defendants had actual or constructive knowledge of or

was willfully ignorant of the infringing activity and had the obligation and ability to control and

stop the infringing activity, yet failed to do so.

        26.     Defendants' conduct constitutes contributory copyright infringement that this

Court may remedy under Sections 106 and 501 of the Copyright Act.

        27.     As a result of the injury suffered by Plaintiffs’ business from Defendants' actions

of contributory copyright infringement, Plaintiffs are entitled to recover actual and/or statutory
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damages, which shall be determined at trial, and costs of this action, including reasonable

attorney’s fees, as well as injunctive relief to prevent future infringement.



                                             COUNT III

                               (Vicarious Copyright Infringement.)

        1-19. Plaintiffs incorporate and re-alleges paragraphs 1-16 of this Complaint as

paragraphs 1-19 of Count III.

        28      On information and belief, Defendants had actual or constructive knowledge of or

was willfully ignorant of the infringing activity and had the obligation and ability to control and

stop the infringing activity, yet failed to do so.

        29      As a result of the injury suffered by Plaintiffs’ business from Defendants’ actions

of vicarious copyright infringement, Plaintiffs are entitled to recover actual and/or statutory

damages, which shall be determined at trial, and costs of this action, including reasonable

attorney’s fees, as well as injunctive relief to prevent future infringement.



                                                Count IV

                                (Inducement of Copyright Infringement.)

        1-19. Plaintiffs incorporate and re-alleges paragraphs 1-16 of this Complaint as

paragraphs 1-19 of Count IV.

        30.     On information and belief, Defendants had actual or constructive knowledge of

or was willfully ignorant of the infringing activity and had the obligation and ability to control

and stop the infringing activity, yet failed to do so.
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       31.     Defendants' conduct constitutes inducement copyright infringement that this

Court may remedy under Sections 106 and 501 of the Copyright Act.

       32.     As a result of the injury suffered by Plaintiffs business from Defendants' actions

of inducement of copyright infringement, Plaintiff is entitled to recover actual and/or statutory

damages, which shall be determined at trial, and costs of this action, including reasonable

attorney’s fees, as well as injunctive relief to prevent future infringement.



       WHEREFORE Plaintiffs, FlavaWorks Entertainment, Inc. and Blatino Media Inc.

respectfully requests that this Honorable Court enter the following:

       1.      A judgment in favor of Plaintiffs, and against the Defendant Joel Lewitsky for

               $1,500,000.00 plus attorney’s fees and court costs.

       2.      A judgment in favor of Plaintiffs and against Defendants John Doe 1-19 in the

               amount $150,000.00 plus attorney’s fees and court costs.

       3.      For a temporary restraining order, preliminary injunction, and permanent

               injunction against Defendants and their aliases, his agents, servants,

               representatives, employees, attorneys, parents, subsidiaries, related companies,

               partners, successors, predecessors, assigns, and all persons acting for, with, by,

               through, or under Defendants and each of them during the pendency of this action

                       as preliminary injunction and permanently thereafter from:

                a.     Restraining and enjoining Defendants from posting on any website(s)

               material that infringes FlavaWorks’ Intellectual Property, as well as from

               facilitating the posting on any website(s) by third parties infringing material
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         and/or links which enable the easy access to FlavaWorks’ Intellectual Property

         that is located on third party websites;

         b.      Restraining and enjoining Defendants from otherwise distributing,

         reproducing, using, copying, streaming, making available for download, or

         otherwise exploiting FlavaWorks’ Intellectual Property, including Plaintiffs’

         copyrighted works, trademarks, trade dress, or any other product or symbol

         with the indicia of Plaintiffs’ ownership, through use of their website(s) or

         otherwise;

         c.      Restraining and enjoining Defendants from doing any other act, through

         any website(s) or otherwise, which shall confuse, deceive, cause mistake, etc.

         among the relevant trade and general public as to the association, sponsorship

         and/or approval between Plaintiffs and any website(s);

         d.      Restraining and enjoining Defendants from otherwise using, copying or

         otherwise exploiting Plaintiffs’ copyrights and copyrighted works;

         e.      Restraining and enjoining Defendants from otherwise using, disclosing.

     converting, appropriating. retaining. selling, transferring or copying any property

     of Plaintiffs;


4.       Requiring Defendants to submit to the Court and to serve upon Plaintiffs a report,

written under oath, setting forth in detail the manner and form in which Defendants have

complied with the terms of this injunction;

5.      Disgorging Defendants of any profits they may have made as a result of his or her

infringement of FlavaWorks’ Intellectual Property;
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6.      Awarding Plaintiffs the actual damages sustained by Plaintiffs as a result of

Defendants’ infringement of FlavaWorks’ Intellectual Property, the amount of            which

is to be determined at trial;

7.      Awarding Plaintiffs compensatory and punitive damages, as deemed just and

proper by this Court, as a result of the willful misconduct on the part of the Defendants;

8.      Awarding Plaintiffs the costs of this action, together with reasonable attorney’s

fees;

9.      In the alternative, awarding Plaintiffs statutory damages pursuant to the Copyright

Act and the Lanham Act;

10.     In the alternative, awarding Plaintiffs enhanced statutory damages, pursuant to 15

U.S.C. § 504(c)(2) of the Copyright Act, for Defendants’ willful infringement of

Plaintiff’s copyrighted works;

11.      Requiring within ten (10) days after the entry of an order for either preliminary or

permanent injunction, Defendants be required to turn over any files containing

Plaintiff’s Intellectual Property;

12.     Requiring Defendants to deliver up for destruction all of Plaintiff’s Intellectual

Property.

13.     Awarding trebled damages for Defendants’ infringement of Plaintiff’s copyrights.

14.     Awarding punitive damages.

15.     Awarding any such other and further relief as this Court deems just, reasonable

and equitable.


                                DEMAND FOR JURY TRIAL
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       Plaintiffs demand a trial by jury of all issues properly triable by jury in this action,

pursuant to Rule 38 of the Federal Rules of Civil Procedure.



DATED: October 8, 2024

Respectfully Submitted,

Hameed Odunewu

ARDC#6346462

FlavaWorks Entertainment, Inc

Baltino Media, Inc.

2705 West Fulton

Chicago, IL 60612-2003
